 Case 1:23-mj-00067-JFA Document 24 Filed 03/28/23 Page 1 of 1 PageID# 141
            IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division



UNITED STATES OF AMERICA                  )
                                          )
                                          )
v.                                        ) CRIMINAL NO.1:23MJ67
                                          )
                                          )
CONNOR FITZPATRICK                        )
     Defendant.                           )



                                  ORDER


     THIS CAUSE came on March 24, 2023, for an initial hearing
before the undersigned Magistrate Judge. At the hearing on March
24, 2023, defendant appeared with counsel, N. Ginsberg,
Esquire, and Peter Katz, Esquire, the United States was
represented by C. Cuellar, Esquire.
     The defendant was informed of his rights, the nature of
the charges, and after consulting with counsel executed a
waiver of a preliminary hearing. The defendant was previously
released on conditions of bond in the Southern District of New
York, wherefore,
     It is hereby
ORDERED that for the reasons stated on the record the defendant
CONNOR FITZPATRICK is continued on the same terms and
conditions previously imposed with the additional condition
defendant may not access VPN software from any location.
                                  ______________________________
                                  William E. Fitzpatrick
                                  United States Magistrate Judge
March 28, 2023
Alexandria, Virginia
